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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :       Case No:
                                            :
              v.                            :
                                            :       VIOLATION:
                                            :
MICHAEL SHANE DAUGHTRY,                     :       18 U.S.C. § 1752(a)
                                            :       (Restricted Building or Grounds)
              Defendant.                    :
                                            :       FILED UNDER SEAL
                                            :

               AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                           AND ARREST WARRANT

       I, Ryan E. Genry, being first duly sworn, hereby depose and state as follows:

                                 PURPOSE OF AFFIDAVIT

       1.     This Affidavit is submitted in support of a Criminal Complaint charging MICHAEL

SHANE DAUGHTRY with a violation of 18 U.S.C. § 1752(a). I respectfully submit that this

Affidavit establishes probable cause to believe that DAUGHTRY did knowingly enter or remain in

any restricted building or grounds without lawful authority, or did knowingly, and with intent to

impede or disrupt the orderly conduct of Government business or official functions, engage in

disorderly or disruptive conduct. Specifically, on or about January 6, 2021, DAUGHTRY traveled

to Washington, D.C., and knowingly and willfully joined and encouraged a crowd of individuals

who forcibly entered the U.S. Capitol and impeded, disrupted, and disturbed the orderly conduct of

business by the United States House of Representatives and the United States Senate.

                               BACKGROUND OF AFFIANT

       2.     I have been a Special Agent with the Federal Bureau of Investigation since January,

2018. I am currently assigned to the Atlanta Field Office, Albany Resident Agency of the FBI. As



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an FBI Agent, I have participated in numerous investigations involving unlawful narcotics

distribution, organized crime, bank robberies, threats cases, unlawful firearms cases and other

violent criminal offenses. In these investigations, I have been involved in the application for and

execution of numerous arrest and search warrants related to the aforementioned criminal

offenses. Through my training and experience, I am familiar with the actions, habits, traits,

methods, and terminology utilized by violent criminal offenders.

       3.      Unless otherwise stated, the information in this Affidavit is either personally known

to me, has been provided to me by other individuals, or is based on a review of various documents,

records, and reports. Because this Affidavit is submitted for the limited purpose of establishing

probable cause to support an application for an arrest warrant, it does not contain every fact known

by me or the United States. The dates listed in this Affidavit should be read as “on or about” dates.

                                         BACKGROUND

       4.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Vice President Mike Pence was present

and presiding in the Senate chamber.

       5.      With the joint session underway and with Vice President Mike Pence presiding, a

large crowd gathered outside the U.S. Capitol. Temporary and permanent barricades surround the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside. At approximately



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2:00 p.m., certain individuals in the crowd forced their way through, up, and over the barricades

and officers of the U.S. Capitol Police, and the crowd advanced to the exterior façade of the

building. At such time, the joint session was still underway and the exterior doors and windows of

the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police attempted

to maintain order and keep the crowd from entering the Capitol; however, shortly after 2:00 p.m.,

individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows. Shortly

thereafter, at approximately 2:20 p.m., members of the United States House of Representatives and

United States Senate, including the President of the Senate, Vice President Mike Pence, were

instructed to—and did—evacuate the chambers. Accordingly, the joint session of the United States

Congress was effectively suspended until shortly after 8:00 p.m. Vice President Pence remained in

the United States Capitol from the time he was evacuated from the Senate Chamber until the session

resumed.

                  STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

       6.      This investigation began on January 7, 2021, when an officer from the Pelham,

Georgia Police Department provided the FBI with screenshots of social media posts by

DAUGHTRY in which he referred to “storm[ing]” the U.S. Capitol. Employees of the Pelham

Police Department informed the FBI that on January 4, 2021, DAUGHTRY posted a message to

social media expressing his intent to travel to Washington D.C. on January 6, 2021. When the

Pelham officers learned through national media sources of the breach at the U.S. Capitol described

above, they checked DAUGHTRY’s Facebook profile at approximately 4:00 p.m. and observed

posts indicating that he had participated in the breach. This prompted a Pelham Police Department

officer to call DAUGHTRY and record the conversation. In the conversation, DAUGHTRY

stated that he was at the Capitol that day and that he was one of the first people to force his way



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past the barricades surrounding the perimeter. He acknowledged during the call that he went “up

to the Capitol door” but “had to back off” when law enforcement officers shot him with rubber

bullets. DAUGHTRY also stated: “We the one that tore the fence down up there.” DAUGHTRY

also stated: “We was the first ones over the fence. Everybody followed us.”

       7.      Your Affiant reviewed several of DAUGHTRY’s Facebook social media posts.

Affiant is aware that DAUGHTRY resides in Baker County, Georgia, and that he operated a

business known as “Crazy Coon’s Armory” from his residence.               On November 2, 2020,

DAUGHTRY posted an apparent advertisement for that business which read as follows: “Anyone

needing an AR15 and some extra ammo before the election, I’ve got a couple left in stock. . . It may

be your last chance if the election don’t go right tomorrow! Let me know if you are interested?”

The post also included a logo-type drawing for his business, as depicted in enclosure 1.

                                            ENCLOSURE 1




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       8.      In a Facebook post on December 26, 2020, DAUGHTRY posted a picture of a

woman alongside an undetermined number of rounds of ammunition which were partially coated

in purple. In the background of the picture, a machine used in the re-loading of ammunition can be

partially seen. The post reads as follows: “I love a woman in a housecoat reloading ammo. Ain’t

our Purple Anti-Liberal Bullets pretty. We finished up the first 500 rounds tonight. . . 500 more to

go. My buddy ‘Machine Gun Mikey’ poured these powder-coated bullets for me.” See enclosure

2 below.

                                            ENCLOSURE 2




       9.      On January 3, 2021, DAUGHTRY posted a message on social media stating that

he was “thinking about going to the protest in Washington DC on the 6th.” See enclosure 3



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below.

                                              ENCLOSURE 3




         10.   On January 4, 2021, two days before he traveled to Washington, D.C., DAUGHTRY

made the following post on Facebook: “About 25,000 people at the Trump Rally tonight, now we’re

headed to Washington DC where they’re expecting 4 Million people. Looks like we may have to

walk about 5 miles to get there from what we were told at the rally but it’ll be worth it to be able to

yell crap at Pelosi and the rest of the idiots that left wing retards voted into office.” See enclosure

4 below.

                                          ENCLOSURE 4




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       11.     On January 6, 2021, DAUGHTRY posted a message to social media that stated:

“We just tore down the fence and stormed the Capital.” In another post that day, which shows a

photo of the Capitol building, he states, “look[s] like security so just push our way to the very very

front.” See enclosure 5 below.

                                              ENCLOSURE 5




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       12.    On January 7, 2021, DAUGHTRY posted on social media pictures of large crowds

from the vantage of a restricted area within the Capitol grounds that included the following

description: “Our veiw [sic] from the scaffolding above the steps on the rear of the Capital

Building.” See enclosure 6 below.




                                     ENCLOSURE 6




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                                 CONCLUSIONS OF AFFIANT

       13.     Based on the foregoing, your affiant submits that there is probable cause to believe

that DAUGHTRY violated 18 U.S.C. § 1752(a), which makes it a crime to (1) knowingly enter or

remain in any restricted building or grounds without lawful authority to do; (2) knowingly, and with

intent to impede or disrupt the orderly conduct of Government business or official functions, engage

in disorderly or disruptive conduct in, or within such proximity to, any restricted building or

grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of

Government business or official functions; (3) knowingly, and with the intent to impede or disrupt

the orderly conduct of Government business or official functions, obstruct or impede ingress or

egress to or from any restricted building or grounds; or (4) knowingly engage in any act of physical

violence against any person or property in any restricted building or grounds; or attempts or

conspires to do so. For purposes of Section 1752 of Title 18, a restricted building includes a posted,


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cordoned off, or otherwise restricted area of a building or grounds where the President or other

person protected by the Secret Service is or will be temporarily visiting; or any building or grounds

so restricted in conjunction with an event designated as a special event of national significance.

       14.     As such, I respectfully request that the court issue an arrest warrant for

DAUGHTRY. The statements above are true and accurate to the best of my knowledge and belief.




                                              _________________________________
                                              SPECIAL AGENT RYAN E. GENRY
                                              FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 12 day of January, 2021.
                                                                           Robin M. Meriweather
                                                                           2021.01.12 18:55:50 -05'00'
                                              ___________________________________
                                              HON. ROBIN M. MERIWEATHER
                                              U.S. MAGISTRATE JUDGE




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